                IN THE UNITED STATES DISTRICT COURT FOR
           THE EASTERN DISTRICT OF TENNESSEE AT KNOXVILLE
______________________________________________________________________________

ROGER HAWKINS and
CHRISTINE HAWKINS,

       Plaintiffs,

v.                                                         Case No. 3:22-cv-51
                                                           JURY DEMANDED
MILAN EXPRESS, INC., and
NECHKO ALEKSANDROV,

      Defendants.
______________________________________________________________________________

                            NOTICE OF REMOVAL
______________________________________________________________________________

       COME NOW Defendants Milan Express, Inc. and Nechko Aleksandrov (collectively, the

“Defendants”), by and through their counsel, and file this Notice of Removal based upon the

following:

       1.      On December 2, 2021, the Plaintiffs commenced a civil action in the Circuit Court

for Cocke County styled Roger Hawkins and Christine Hawkins v. Milan Express, Inc. and Nechko

Aleksandrov, Cocke County Circuit Court No. 36,249-IV. A copy of Plaintiff’s Complaint is

attached hereto as Exhibit A.

       2.      On or about January 7, 2022, Plaintiffs effected service of process on Defendant

Nechko Aleksandrov by mailing the Summons and Complaint to him through the Tennessee

Secretary of State.

       3.      On or about January 10, 2022, Plaintiffs effected service of process on Defendant

Milan Express, Inc. by serving its registered agent for service of process with a copy of the

Summons and Complaint.



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        4.     Therefore, it has been less than thirty (30) days since Defendant Milan Express,

Inc. was served with the Summons and Complaint. See Brierly v. Alusuisse Flexible Packaging,

Inc., 184 F.3d 527, 533 (6th Cir. 1999) (construing 28 U.S.C. § 1446(b) to permit “a later-served

defendant [] 30 days from the date of service to remove a case to federal district court.”)

        5.     Defendant Nechko Aleksandrov consents to and joins in the removal of this action.

        6.     As alleged in the Complaint, 1 Plaintiffs Roger Hawkins and Christine Hawkins are

married and are adult resident citizens of the state of Tennessee. Exh. A at ¶ 1.

        7.     As alleged in the Complaint, Defendant Milan Express, Inc. is a foreign corporation

formed under the laws of Illinois. Exh. A at ¶ 3. Accordingly, Defendant Milan Express, Inc. is

a citizen of the state of Illinois for purposes of diversity of citizenship jurisdiction. 28 U.S.C. §

1332(c)(1).

        8.     As alleged in the Complaint, Defendant Nechko Aleksandrov is an adult citizen of

the state of Illinois and, therefore, is a citizen of the state of Illinois for purposes of diversity of

citizenship jurisdiction. Exh. A at ¶ 5.

        9.     Accordingly, based on the foregoing, there is complete diversity of citizenship as

between Plaintiffs and all Defendants.

        10.    Based on the allegations contained in the Complaint, the amount in controversy

exceeds the sum of $75,000 exclusive of interest and costs. Specifically, Plaintiffs pray for an




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    Defendants Milan Express, Inc. and Nechko Aleksandrov restate the referenced allegations in

the Complaint without prejudice to their rights to Answer or otherwise respond to the Complaint

or any of the allegations or claims for relief set forth in the Complaint.



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award of $5,000,000 for alleged damages as to Plaintiff Roger Hawkins and $1,000,000 for alleged

damages as to Plaintiff Christine Hawkins. Exh. A at Prayer for Relief, ¶ G.

        11.    Based on all the foregoing, the Complaint is removable pursuant to 28 U.S.C. §

1441.

        12.    Venue is proper in this Court pursuant to 28 U.S.C. § 123(a)(2) because it is the

“district and division embracing the place where such action is pending.” 28 U.S.C. § 1441(a).

        13.    Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal is being served

upon counsel for Plaintiff in the manner set forth in the Certificate of Service, and a copy is being

filed with the Clerk of the Circuit Court for Cocke County, Tennessee.

        WHEREFORE, Defendants Milan Express, Inc. and Nechko Aleksandrov respectfully

remove this action, now pending in the Circuit Court for Cocke County, Tennessee to the United

States District Court for the Eastern District of Tennessee at Knoxville pursuant to 28 U.S.C. §

1446.

                                                      Respectfully submitted,

                                                      /s/ Andrew Gardella
                                                      Lee L. Piovarcy, Esq. (TN Bar #8202)
                                                      Andrew Gardella, Esq. (TN Bar #027247)
                                                      MARTIN, TATE, MORROW & MARSTON, P.C.
                                                      315 Deaderick Street, Suite 1550
                                                      Nashville, TN 37238
                                                      Telephone: (615) 627-0668
                                                      Facsimile: (615) 627-0669
                                                      lpiovarcy@martintate.com
                                                      agardella@martintate.com

                                                      Attorneys for Defendants Milan Express, Inc.
                                                      and Nechko Aleksandrov




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                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was served on the foregoing counsel on this

the 9th day of February, 2022 via electronic mail and via First Class U.S. Mail, postage prepaid:

                      Danny R. Ellis, Esq.
                      Truck Wreck Justice, PLLC
                      1419 Market Street
                      Chattanooga, TN 37402
                      danny@truckwreckjustice.com

                      Melissia R. Ball, Esq.
                      331 E. Broadway
                      PO Box 160
                      Newport, Tennessee 37822
                      melissiaball@bellsouth.net



                                                     /s/ Andrew Gardella




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